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                  EXHIBIT A
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 Participant Identification:
 I, ___________________________, hereinafter referred to as "the Participant," willingly enter into this
 agreement on this day, ____________________, in relation to my participation in the psychedelic
 ceremonies conducted as part of the religious practices of Singularism.



 Introduction and Purpose:
 This document serves as a comprehensive informed consent and waiver for my voluntary participation in
 the ceremonial use of psychedelic substances within the religious context of Singularism. It is intended to
 ensure that I am fully informed about the nature, potential benefits, and risks associated with the use of
 psychedelics in these ceremonies.

 This document acts as an informed consent and comprehensive waiver for individuals like myself who are
 engaging in Singularism's sacred ceremonies involving the use of psychedelic substances. Participation is
 entirely voluntary and predicated on a full understanding and acknowledgment of the ceremonial,
 spiritual, and religious context of this practice. This document is intended to provide complete
 transparency about the benefits, risks, and nature of psychedelic use in our religious ceremonies.


 DECLARATIONS:

 Legal declaration of Rights:
 I declare that my participation in the psychedelic ceremonies of Singularism is protected under the United
 States Constitution, legal precedent, and case law, specifically under the provisions for the free exercise of
 religion. I understand that this right is recognized and upheld in the context of religious practices, and I
 assert that my participation in these ceremonies is a lawful expression of my religious freedom.

 While I am aware that my participation is under the protection of the United States Constitution, I also
 understand that local municipalities and state governments may have differing interpretations and may
 mistakenly view such ceremonies as illegal. I recognize that these variations in interpretation exist and
 that legal protections for religious practices, especially those involving entheogenic substances, may not
 be uniformly recognized or applied across different jurisdictions.

 Declaration of Sincerity and Honesty:
 I affirm that I have represented myself sincerely and honestly in all interactions with the facilitators of
 Singularism. I have been truthful in my statements during the screening and preparation process. I have
 disclosed all relevant information about my health, mental state, and any other factors that may impact my
 participation in the ceremony. This disclosure is essential to assist the guides in making informed
 decisions for the safety and benefit of everyone involved.


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 Declaration of Personal Spiritual Necessity:
 I recognize and sincerely declare that participating in this entheogenic ceremony is a vital and central
 component of my spiritual well-being. While I understand that not everyone will consider this path
 essential, I ask for understanding and respect for my personal belief in the significance of this ceremony
 to my personal spiritual pursuits. I assert my legal right to participate in this religious ceremony, firmly
 believing it to be integral to my spiritual journey. I enter this ceremony with a deep conviction, informed
 by thorough self-education and external research, that this experience is indispensable for my spiritual
 development and religious exploration. I view this ceremony as a crucial step in my ongoing quest for
 spiritual growth and understanding, essential to my life's spiritual journey.

 Declaration of Voluntary Participation:
 By signing this document, I confirm that my decision to participate in the ceremony is made willingly and
 with full awareness of its nature. I acknowledge that my participation is a conscious choice, free from any
 external pressures or expectations. I affirm that I am over 18 years of age, in sound mind, and acting in
 good faith of my own volition.

 Declaration of informed Consent:
 By signing this document, Participants affirm that they have received thorough information regarding the
 ceremony, have had the opportunity to ask questions and express concerns, and have received satisfactory
 responses. They acknowledge their participation is of their own free will, without any undue pressure or
 persuasion.

 ACKNOWLEDGMENTS:

 Acknowledgment of Religious and Spiritual Context:
 Participants expressly acknowledge and understand that Singularism's use of psychedelics is a deeply
 religious and spiritual practice. It is conducted in a sacred, respectful manner and is central to our
 religious beliefs and spiritual explorations. This practice is not recreational, nor clinical whatsoever. This
 ceremony is a significant part of our spiritual journey and religious expression.

 Acknowledgment Non-Clinical Nature of Ceremonial Practice:
 Participants acknowledge and understand that the psychedelic ceremonies conducted under the auspices
 of Singularism are strictly religious and spiritual in nature and are not intended to be clinical or
 therapeutic interventions. Singularism and its facilitators make no clinical claims regarding the efficacy of
 these practices for the treatment or alleviation of any medical or psychological conditions.These
 ceremonies do not replace professional medical advice, diagnosis, or treatment. Participants are
 encouraged to continue any ongoing medical treatments and consult with healthcare professionals
 regarding their participation in these ceremonies.

 Acknowledgment of Non Licensure:


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 I understand and acknowledge that Singularism does not operate its sessions under any clinical license
 whatsoever. If any employee, facilitator, or individual associated with Singularism happens to hold a
 professional license in another field, I recognize that their licensure is entirely separate and not related to
 their work and activities within Singularism. The roles and activities undertaken in the context of
 Singularism's ceremonies are distinct from any licensed professional capacities that these individuals
 might hold outside of this religious setting.

 Acknowledgment of Religious Inclusivity:
 I further acknowledge and respect that Singularism does not require “religious exclusivity” from its
 adherents. I understand that participation in Singularism's ceremonies does not necessitate forgoing or
 abandoning my affiliations, beliefs, or practices in other religions. Rather, Sinuglaism teaches religious
 inclusivity. I recognize that Singularism respects the coexistence of multiple spiritual paths and that my
 involvement in these ceremonies is a personal choice, made in accordance with my own spiritual and
 mental well-being needs. My participation in Singularism's ceremonies is a testament to my sincere
 commitment to exploring diverse spiritual experiences as I deem necessary for my personal growth and
 development.

 Preparation and Education Acknowledgement:
 Participants confirm that they have undertaken adequate preparation for the ceremony. This includes
 self-education about the nature of psychedelic experiences and consultation with outside resources or
 experts as needed. Participants affirm that they have been provided with sufficient information and
 resources by Singularism to make an informed decision about their participation.

 Medical Advisory Acknowledgment:
 I acknowledge that while Singularism's ceremonies incorporate clinical insights and prioritize safety, they
 operate within a religious context, not a medical one. I understand the importance of consulting with a
 medical professional about my participation, especially if I'm undergoing psychopharmacological
 treatment. The advice from Singularism's staff, despite being informed, is not a substitute for licensed and
 qualified professional medical advice, and we acknowledge their clinical advice supersedes our spiritual
 advice in medical and physical matters. Singualrsim always advises that you seek your own medical
 council. Therefore, I commit to seeking medical counsel to ensure my health and safety regarding any
 treatments I am receiving, or medical concerns I have.

 This shortened version maintains the essential information about the importance of seeking medical
 advice and the non-medical nature of Singularism's ceremonies, while being more concise.

 AGREEMENTS:

 Commitment to Safety and Guidance:
 I, the participant, commit to maintaining a safe environment during the ceremony and agree to follow all
 rules and instructions provided by the guides and facilitators. I understand that these guidelines are in


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 place to ensure the safety and well-being of all participants, including myself. I agree to listen attentively
 to my guide and adhere strictly to the established protocols throughout the ceremony.

 Ceremony Participation Agreement
 As a Participant in Singularism ceremonies, I commit to following the guidance and instructions of the
 lead facilitator throughout the ceremony. I place my trust in the facilitator's expertise and agree to openly
 express any concerns or discomfort I may experience during the process. This commitment is made to
 ensure my physical and emotional safety, as well as to uphold the sanctity and integrity of the ceremony.

 I understand the importance of communication and agree to voice my needs and concerns so that the
 facilitators can provide the necessary support to maintain a safe and supportive environment. By signing
 below, I acknowledge my understanding and agreement to the terms outlined above, committing to follow
 the lead facilitator's instructions and to communicate openly during Singularism ceremonies.

 Facility Stay Agreement
 As a Participant in Singularism ceremonies, I agree to remain within the designated facility premises until
 my lead facilitator formally releases me at the conclusion of the ceremony. This agreement is in place to
 ensure my safety and the integrity of the ceremonial process, allowing for a fully immersive and secure
 experience. I understand that leaving the facility prematurely may compromise both my safety and the
 collective experience of all participants. By signing below, I affirm my commitment to stay within the
 facility as required and to follow the release instructions provided by my lead facilitator.

 No Driving Agreement:
 I agree that I will not operate a vehicle under any circumstances on the day of the ceremony. Even if I feel
 capable of driving, I understand the importance of adhering to this rule for my safety and the safety of
 others. The effects of psychedelic substances used during the ceremony can be unpredictable, and my
 judgment may be impaired. I commit to arranging transportation to and from the ceremony location
 through a trusted friend, family member, or reliable ride service. This ensures that I do not have to drive
 under any circumstances, maintaining safety as a top priority.

 Audio Recording and Note Usage Policy and Consent Agreement:
 By engaging in sessions with Singularism, clients acknowledge and consent to the potential audio
 recording of parts of their sessions and the use of handwritten notes as visuals, primarily for training
 purposes and occasionally for use in anonymized media clips. These recordings will be audio-only unless
 explicitly agreed otherwise, and any notes used will not contain identifiable personal information. Clients
 are assured that their confidentiality will be maintained in all materials.

 Phone Use Restriction:
 I agree to not use my phone during the ceremony sessions without explicit permission from the guide. I
 understand that this guideline is in place for my emotional safety and to enhance the effectiveness of the
 sessions. Using a phone can be distracting and may disrupt the immersive and introspective nature of the



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 experience. I acknowledge that maintaining a phone-free environment is essential for creating a focused
 and conducive setting for all participants.


 DISCLOSURES:

 Potential Benefits: Transformative Potential of Psychedelic Experiences - Legal Disclosure:
 As participants in this ceremony, you are embarking on a journey that has the potential to profoundly
 impact your personal and spiritual growth. The ceremonial use of psychedelics could lead to life-changing
 experiences and insights. Just a few of the many benefits include, but is not even remotely limited to:

     1. Enhanced Self-Awareness: You may experience a deepening of self-understanding, peeling back
        layers of your consciousness to reveal a richer, more nuanced understanding of your identity and
        purpose.
     2. Spiritual Awakening: Many participants report transformative spiritual experiences, feeling a
        profound connection to a greater existence beyond the physical realm. This awakening can offer
        new perspectives on life and existence.
     3. Emotional Catharsis: The experience may facilitate a powerful release of pent-up emotions,
        leading to therapeutic and healing outcomes. It's not uncommon for participants to emerge with a
        sense of emotional renewal and resilience.
     4. Deepened Connection with the Universe: You might find yourself experiencing an intense sense
        of unity and interconnectedness with the universe, nature, and fellow beings. This often leads to a
        greater sense of empathy and compassion.
     5. Strengthened Sense of Interconnectedness: The feeling of being deeply connected with others and
        the environment around you can foster a sense of belonging and understanding, promoting
        harmony and empathy in your interactions.
     6. Personal Development and Enlightenment: These experiences have the potential to contribute
        significantly to your personal development, providing insights and perspectives that can lead to a
        more enlightened, fulfilling life.

 It is important to understand that while these experiences can be transformative and profound, they are
 subjective and can vary greatly from person to person. The journey you embark upon is unique to you,
 influenced by your personal mindset, environment, and life experiences.



 Disclosure of Risks and Side Effects:
 Participants are thoroughly informed about the potential risks and side effects associated with the use of
 psychedelic substances, framed in an optimistic yet realistic manner. While many individuals experience
 positive and transformative effects, it's important to understand that reactions can vary:




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     1. Psychological Responses: In some rare instances, participants may experience temporary feelings
        of anxiety, confusion, or unpredictable emotional responses. These are typically short-lived and
        often contribute to a deeper understanding of personal emotions and thought processes.
     2. Physical Reactions: Some individuals might encounter minor physical reactions such as mild
        nausea or slight dizziness. Changes in sensory perception, a common aspect of the psychedelic
        experience, are generally perceived as part of the journey towards greater self-awareness.
     3. Worldview and Belief Systems: There's a possibility for long-term changes in personal belief
        systems and worldview. While this can be profound and positive, leading to a more open and
        inclusive perspective on life, it's important to approach this potential change with an open mind
        and readiness for personal growth.
     4. Rare Cases: In very rare cases, more intense experiences can occur, including psychotic breaks
        that are impossible to screen or predict. These are usually in populations with specific
        predispositions and are not common in the general population.

 It is important for participants to understand that these risks are inherent to the experience and can vary
 from person to person. This disclosure is provided not to dissuade but to ensure a fully informed, positive,
 and conscious decision to participate.



 Health and Safety Considerations:
 I affirm that I have provided a complete and honest disclosure of all relevant health information to the
 facilitators of Singularism. This includes a thorough account of my mental health history and any current
 physical health conditions. I understand the importance of this disclosure, as certain health conditions can
 increase the risk of adverse reactions during the ceremony.

 In recognition of these risks, I commit to discussing any potential contraindications with my healthcare
 provider before participating in the ceremony. This discussion is a crucial step in ensuring my safety and
 well-being, as it helps in identifying any personal health factors that might influence my experience.

 Furthermore, I acknowledge and appreciate the organization's commitment to maintaining rigorous safety
 protocols and providing continuous support throughout the ceremony. This commitment includes
 monitoring the ceremony environment, being responsive to participants' needs, and having measures in
 place to address any unexpected situations. I understand that this support is in place to foster a safe and
 nurturing space for my spiritual journey, but it does not substitute for my personal responsibility in
 assessing my fitness to participate.

 By acknowledging this, I accept that while the organization takes extensive measures for safety, the nature
 of such experiences involves a degree of unpredictability, and I assume responsibility for my decision to
 partake in the ceremony."

 This expanded statement emphasizes the participant's responsibility in disclosing their health information
 and consulting with healthcare providers, alongside acknowledging the organization's commitment to


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 safety and support.



 Recognition of Potential Risks and Assumption of Responsibility
 While we at Singularism are committed to establishing and following groundbreaking best practices and
 standards of care in our ceremonies, it is important to recognize that, as with any human endeavor,
 mistakes can happen. Participants should be aware that despite our best efforts, there is an inherent risk
 associated with any activity involving psychedelic substances. By choosing to participate, you understand
 and assume all risks associated with this ceremony. This acknowledgment is not a reflection of an
 expectation of negative outcomes but is a standard precaution to ensure that participants are aware of their
 personal responsibility in choosing to partake in these ceremonies."

 Voluntary Participation and Comprehensive Informed Consent:
 By signing this document, Participants affirm that they have received thorough information regarding the
 ceremony, have had the opportunity to ask questions and express concerns, and have received satisfactory
 responses. They acknowledge their participation is of their own free will, without any undue pressure or
 persuasion.

 Legal Release of Liability and Indemnification:
 Participants agree to waive and release Singularism, its facilitators, organizers, and any associated parties
 from any liability or claims that may arise from their participation in the psychedelic ceremonies. They
 understand this waiver includes any unforeseen risks or outcomes not explicitly mentioned in this
 document.

 Provisions for Emergency Medical Care:In the event of a medical emergency, Participants
 consent to receive necessary medical treatment and understand that the organization will take all
 appropriate actions to ensure their safety and well-being, including contacting emergency
 medical services if needed




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 Supportive/Emergency Contact Authorization
 As a Participant of Singularism ceremonies, I recognize the value of having a supportive network
 available in times of need. I have selected three individuals with whom I feel both emotionally
 and physically safe. I grant Singularism unconditional permission to contact any of these
 individuals whenever a facilitator deems it necessary for my well-being or safety. I have
 informed them that they are being used as an emergency contact in this context

 Supportive/Emergency Contact 1:

    Contact Full Name:________________________________________________________

    Relationship to Participant:_________________________________________________

    Phone Number:__________________________________________________________

    Email: _________________________________________________________________

    City of Residence:________________________________________________________


 Supportive/Emergency Contact 2:

    Contact Full Name:________________________________________________________

    Relationship to Participant:_________________________________________________

    Phone Number:__________________________________________________________

    Email: _________________________________________________________________

    City of Residence:________________________________________________________

 Supportive/Emergency Contact 3:

    Contact Full Name:________________________________________________________

    Relationship to Participant:_________________________________________________

    Phone Number:__________________________________________________________

    Email: _________________________________________________________________

    City of Residence:________________________________________________________




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 Intention Statement:
 Participants are invited to state their intention for participating in the ceremony. This intention, while
 personal, plays a crucial role in shaping the individual's experience. It is understood that setting a clear
 and positive intention can significantly influence the nature of one's experience.

 Intention (please write below):


 ___________________________________________________________________________


 ___________________________________________________________________________




 Confidentiality and Respect for Privacy:
 Participants commit to respecting the privacy and confidentiality of all individuals involved in the
 ceremonies. They agree not to disclose sensitive information about the ceremonies or other participants
 without explicit permission.



 Acknowledgment and Binding Signature:
 I, __________________________, hereby affirm that I have read, fully understand, and agree to all terms
 and conditions outlined in this waiver. I acknowledge that my participation in Singularism's psychedelic
 ceremonies is informed, voluntary, and at my own risk.

 Signature: ________________________________________________________________________


 Printed Name:_____________________________________________________________________


 Date: _____________________




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